United States District Court Feo in THE Us. DistRICT CouRT
Eastern District of Washington EASTERN DISTRICT OF WASHINGTON

Nicole Lynn Carby

 

APR 08 2020
‘SEAN F.McAVOY, CLERK

 

—————-——- DEPUTY
RICHLAND, WASHINGTON

 

Case 4:20-cv-05059-SAB ECFNo.1 filed 04/08/20 PagelD.1 Page 1 of 9 ’
(In the space above enter the full name(s) of the plaintiff(s).)

cose no, 4:20-CV-5059-SAB

(To be filled out by Clerk’s
DaVita Dialysis Office only)

-against-

 

Jury Demand?
[lYes
LI] No

DaVita Healthcare Partners

 

 

 

(In the space above enter the full name(s) of the defendant(s).
If you cannot fit the names of all of the defendants in the
space provided, please write “see attached” in the space
above and attach an additional sheet of paper with the full list
of names. The names listed in the above caption must be
identical to those contained in Section I. Do not include
addresses here.)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and
the last four digits of a financial account number.

 

 

 

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EEOO Complaint - 10/2015

 

 

 
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1. PARTIES

Plaintiff
List your name, address and telephone number. Do the same for any additional plaintiffs named.
Attach additional sheets of paper as necessary.

 

 

 

 

 

Plaintitt: Carby, Nicole L

Name (Last, First, MI)
803 S. Olympia St Apt. G3
Street Address
Benton, Kennewick WA 99336
County, City State Zip Code
(509)212-8565 NicciCarby@yahoo.com
Telephone Number E-mail Address (if available)

Defendant(s)

List all defendants. You should state the full name of the defendants, even if that defendant is a
government agency, an organization, a corporation, or an individual. Include the address where
each defendant resides or does business. Make sure that the defendant(s) listed below are
identical to those contained in the caption. Attach additional sheets of paper as necessary.

Defendant 1: DaVita
Name (Last, First)

2000 16" St
Street Address

 

Arapahoe, Denver CO 80202
County, City State Zip Code

 

Nature of business: Dialysis

Defendant 2: DaVita Healthcare Partners
Name (Last, First)
2000 16" St
Street Address

 

 

Arapahoe, Denver co 80202
County, City State Zip Code

 

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Nature of business: Dialysis

Il. CAUSE OF ACTION

Check only the options below that apply in your case.

This employment discrimination lawsuit is brought under:

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OC Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
employment discrimination on the basis of race, color, religion, sex, or national origin.

C Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et
seq., for employment discrimination on the basis of age. My year of birth is:

C] Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
discrimination on the basis of a disability by an employer which constitutes a program or
activity receiving federal financial assistance.

C] Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq., for
employment discrimination on the basis of a disability.

x My right to suit lists title VII. However, it is for the Americans with Disabilities Act

This Court has subject matter jurisdiction over this case under the above-listed statutes and under

28 U.S.C. §§ 1331 and 1343.

I. STATEMENT OF CLAIM

The conduct complained of in this lawsuit involves (check only those that apply):

 

 

 

 

 

 

 

 

 

 

 

CLAIM DATE(S) OF PLACE OF
OCCURRENCE OCCURRENCE

CI failure to hire me
termination of my employment May 20, 2019 Zillah, Washington
CL failure to promote me
XI failure to accommodate my disability _| First noted after Kennewick,

04/15/18 Washington
terms and conditions of my First noted after Kennewick,
employment differ from those of similar | 04/15/18 Washington
employees

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retaliation Verbally after Kennewick,
04/15/18. Put in Washington
writing 03/21/19

harassment Started in November of | Hermiston Oregon
2017

LC] other (specify below):

 

 

 

 

The conduct of Defendant(s) was discriminatory because it was based on (check only those that
apply):

CL] race UX religion LC] national origin LI age (year of
O color CO sex disability birth:
Facts

State here briefly the specific facts that support your claim:

My daughter was in a car accident on 04/15/18. She has been deemed disabled. After her accident |
needed to provide extra care for her. | had expressed through conversations as well as FMLA
documents what was needed regarding her care. Due to the nature of what my role was with the
company they did not adjust my work to reflect the time off | needed. it just kept piling up. Due to the
undue stress of them not accommodating my request, that was discussed and put in FMLA form |

then incurred an on the job injury on 11/30/18. At that time, it was discussed and also put in writing
the need for accommodation related to myself. As this was impacting both my physical and mental
health my Primary Care Provider started documenting these issues. | then started utilizing FMLA
documents to help assist with them not accommodating my needs.

 

 

 

IV. ADMINISTRATIVE PROCEDURES

Did you file a charge of discrimination against defendant(s) with the EEOC or any other federal
or state agency?

x] Yes (You must attach a copy of the charge to this complaint.)
C No

Have you received a Notice of Right to Sue from the EEOC?
XI Yes (You must attach a copy of the Notice of the Right to Sue.)

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C] No
V. RELIEF

The relief I want the court to order is (check only those that apply):

Direct the defendant to hire the plaintiff

Direct the defendant to re-employ the plaintiff

Direct the defendant to promote the plaintiff.

Direct the defendant to reasonably accommodate the plaintiff's religion

OOOOOd

Direct the defendant to reasonably accommodate the plaintiffs disabilities

Direct the defendant to (specify):

Acknowledge they broke several laws that resulted in my on the job injury that has left me
unable to work at the level | use too. With that comes financial compensation that allows me
to live the rest of my life and also assists me in taking care of my two minor children.

™

 

 

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VI. CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result in the dismissal of my case.

 

 

April 2, 2020 Me a Con loy/
Dated Plaintiff's Signature

Carby, Nicole, L

 

Printed Name (Last, First, MI)

List the same information for any additional plaintiffs named. Attach additional sheets of paper
as necessary.

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EEOC Form 5 (11/09)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMIN. ATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act -] FEPA

Statement and other information before completing this form. EEOC 554 -201 9-02490

Washington State Human Rights Commission and EEOC
State or local Agency, if any
Name (indicate Mr. Ms., Mrs.) Home Phone (Incl. Area Code) Date of Birth
Nicole Carby (509) 21 2-8565 1977
Street Address City, State and ZIP Code

803 S. Olympia St, Apt G3, Kennewick, WA 99336

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS beiow.)

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code}
DAVITA DIALYSIS 500 or More (720) 631-21 00
Street Address City, State and ZIP Code

3208 W 19th Ave, Suite 101, Kennewick, WA 99336

 

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
Street Address City, State and ZIP Code
i DATE(S) DISCRIMINATION TOOK PLACE
TION BASED ON te box(es).
DISCRIMINATION BASED ON (Check appropria (es).) eae PLAGE

[| RACE [| COLOR [| SEX [| RELIGION | NATIONAL ORIGIN 41-30-2018 05-20-2019
RETALIATION [| AGE [x] DISABILITY T] GENETIC INFORMATION

OTHER (Specify) [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
On or around October 27, 2014, | began working for the Respondent as an Insurance Counselor.
During the course of my employment, | performed my job duties in a satisfactory manner.

On or around November 2018, | notified Respondent of my Disability and the need for a reasonable
accommodation. | specifically requested that I have a reduce work schedule. Respondent granted my
reasonable accommodation but failed to reduce my workload to reflect my reduced work schedule.
On or around November 30, 2018, | complained to Gaberial Kvamme, Group Insurance Counselor, my
workload was not being reduced to reflect the hours | am currently working. In addition, | contacted
Kelly Colb, Human Resources, as | was being counseled on my performance. In or around December
2018, | was placed on a final warning by Gaberial Kvamme.
On or around March 15, 2019, | requested again for a reduce workload to correctly reflect the hours
being worked. On March 15, 2019, | was denied my pay raise and bonus and told my
accommodations of a reduced workload would not be accommodated by Jamie Zacher. On or around
| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements

will advise the agencies if | change my address or phone number and | will

cooperate fully with them in the processing of my charge in accordance with their
procedures.

 

 

 

 

| swear or affirm that | have read the above charge and that itis true to

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.

SIGNATURE OF COMPLAINANT
q | G | ) q Spb pu SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
i (month, day, year)
Date

 

Charging Party Signature?

Fay to (20v) 220-V4i|

 

 

 

 

 

 
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EEOC Form 5 (11/09)

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This or is affects aby ihe ane Act pin 4. See an Act [ ] FEPA
tat informati completi is form.
ia _ EEOC 551-2019-02490
Washington State Human Rights Commission and EEOC

 

State or local Agency, if any

 

 

May 20, 2019, | was discharge by Rebecca Erks, Insurance Management Team Manager, due to poor
performance.

| believe that | was discriminated against because of my disability and retaliated, in violation of the
Americans with Disabilities Act of 1990, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. 1 | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to

 

 

 

| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

7 lq | \q Nols (ny by SUBSCHIBED DAN SWORN TO BEFORE ME THIS DATE
Date

Charging Party Signature

 

 

 

 
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eeocramieiciir, -—-—S—=*~*S*«* SS, EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

__ DISMISSAL AND NOTICE OF RIGHTS
- - From: Seattle Field Office

To: Nicole Carby

 

803 S. Olympia St, Apt G3 909 First Avenue
Kennewick, WA 99336 a a Suite 400
oP ee Seattle, WA 98104-1061
FE] . On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

 

Annalie N. Greer,
551-2019-02490 Enforcement Supervisor (206) 220-6917

_ THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
: The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

o

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OO BOOU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

_ Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age

_ Discrimination in Employment Act: This wil! be the only notice of dismissal and of your right to sue that we will send you.

You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your

_ lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

   

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

On behalf of the Commission
for January 13, 2020
enemas) Nancy A. Sienko, (Date Mailed)
. Director

Davita Dialysis
Attn: Grace Garcia, Paralegal
601 Hawaii Street

El Segundo, CA 90245

 

   

 
